                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF WISCONSIN


 WILLIAM FEEHAN,

                            Plaintiff,

                     v.                             Case No. 2:20-CV-1771

 WISCONSIN ELECTIONS COMMISSION,
 and its members ANN S. JACOBS,
 MARK L. THOMSEN, MARGE
 BOSTELMAN, JULIE M. GLANCEY,
 DEAN KNUDSON, ROBERT F.
 SPINDELL, JR., in their official capacities,
 GOVERNOR TONY EVERS, in his official capacity,

                            Defendants,

                    &.

DEMOCRATIC NATIONAL COMMITTEE,
                   Proposed Intervenor-Defendant.


   PROPOSED INTERVENOR-DEFENDANT DEMOCRATIC NATIONAL
            COMMITTEE’S DISCLOSURE STATEMENT



      The undersigned, counsel of record for Proposed Intervenor-Defendant

Democratic National Committee, furnishes the following in compliance with Civil L.

R. 7.1 and Fed. R. Civ. P. 7.1.

      The Democratic National Committee has no parent companies or publicly

held companies with a 10% or greater ownership interest in it.




         Case 2:20-cv-01771-PP Filed 12/04/20 Page 1 of 2 Document 24
 Dated: December 3, 2020                    Respectfully Submitted,




                                            By: s/ Michelle M. Umberger
Seth P. Waxman*                                Michelle M. Umberger
WILMER CUTLER PICKERING HALE AND               SBN 1023801
    DORR LLP                                   Charles G. Curtis, Jr.
1875 Pennsylvania Ave., NW                     SBN 1013075
Washington, DC 20006                           Sopen B. Shah
(202) 663-6000                                 SBN 1105013
seth.waxman@wilmerhale.com                     Will M. Conley
                                               SBN 1104680
David S. Lesser*                               PERKINS COIE LLP
Jamie Dycus*                                   33 East Main St., Suite 201
WILMER CUTLER PICKERING HALE AND               Madison, WI 53703
    DORR LLP                                   (608) 663-7460
7 World Trade Center                           ccurtis@perkinscoie.com
250 Greenwich Street                           mumberger@perkinscoie.com
New York, NY 10007                             sshah@perkinscoie.com
(212) 230-8800                                 wconley@perkinscoie.com
david.lesser@wilmerhale.com
jamie.dycus@wilmerhale.com                     Marc E. Elias*
                                               John Devaney*
Matthew W. O’Neill                             Zachary J. Newkirk*
  SBN 1019269                                  PERKINS COIE LLP
FOX, O’NEILL &                                 700 Thirteenth St., N.W.,
  SHANNON, S.C.                                    Suite 800
622 North Water Street,                        Washington, D.C. 20005
    Suite 500                                   (202) 654-6200
Milwaukee, WI 53202                             melias@perkinscoie.com
(414) 273-3939                                  jdevaney@perkinscoie.com
mwoneill@foslaw.com                             znewkirk@perkinscoie.com


* Application for admission pending          Counsel for Proposed Intervenor-Defendant




                                        2

           Case 2:20-cv-01771-PP Filed 12/04/20 Page 2 of 2 Document 24
